 Case 2:16-cr-00014-RJJ           ECF No. 53, PageID.100   Filed 10/25/16     Page 1 of 2




                          UNITED STATES OF AMERICA
                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION



UNITED STATES OF AMERICA,

                     Plaintiff,                  Case No. 2:16-cr-14-03

v.                                               HON. ROBERT HOLMES BELL

MICHAEL PAUL KARPPINEN II,

                Defendant.
____________________________________/


                           REPORT AND RECOMMENDATION

              Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the

captioned case on October 20, 2016, af ter receiving the written consent of defendant

and all counsel. At the hearing, defendant Michael Paul Karppinen II entered a plea of

guilty to Count 1, charging defendant with Conspiracy to Distribute and Possess with

the Intent to Distribute Heroin and Cocaine Base in violation of 21:846, 21:841(a)(1),

21:841(b)(1)(C), in exchange for the undertakings made by the government in the

written plea agreement. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is

made knowingly and with full understanding of each of the rights waived by defendant;

that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the

charge and penalties provided by law; and that the plea has a sufficient basis in fact.

              I therefore recommend that defendant's plea of guilty to Count 1 be
 Case 2:16-cr-00014-RJJ         ECF No. 53, PageID.101          Filed 10/25/16     Page 2 of 2




accepted, that the court adjudicate def endant guilty, and that the written plea agree-

ment be considered for acceptance at the time of sentencing. It is further recom-

mended that the order setting conditions of defendant's release remain in effect

pending sentencing. Acceptance of the plea, adjudication of guilt, acceptance of the

plea agreement, determination of defendant's status pending sentencing, and imposi-

tion of sentence are specifically reserved for the district judge.



Date: October 25, 2016                                /s/ Timothy P. Greeley
                                                    TIMOTHY P. GREELEY
                                                    United States Magistrate Judge



                                    NOTICE TO PARTIES

              You have the right to de novo review of the foregoing findings by the district
judge. Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen days after the plea
hearing. See W.D. MICH. L.CR.R. 11.1(d).
